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           16                          UNITED STATES DISTRICT COURT
                                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
           17                               SOUTHERN DIVISION
           18      MASIMO CORPORATION,                       CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
           19      CERCACOR LABORATORIES,                    APPLE’S EX PARTE MOTION TO
                   INC.,                                     CONSOLIDATE HEARINGS ON
           20      a Delaware corporation,                   APPLE’S MOTION TO COMPEL
                                                             PLAINTIFFS’ SUPPLEMENTAL
           21                         Plaintiffs,            INFRINGEMENT CONTENTIONS
                                                             (DKT. 1955) AND PLAINTIFFS’ MOTION
           22            v.                                  TO STRIKE APPLE’S INVALIDITY
                                                             CONTENTIONS (DKT. 1949)
           23      APPLE INC.,
                   a California corporation,
           24                                                [PROPOSED] ORDER LODGED
                                      Defendant.             HEREWITH
           25
           26                                                Law and Motion Filing Cutoff: 8/26/24
                                                             Law and Motion Hearing: 9/23/24
           27
                                                             Final Pre-Trial Conf.: 10/28/24
           28                                                Trial: 11/5/24

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           28      APPLE’S MOTION TO CONSOLIDATE HEARINGS
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             1           Before the Court are two motions regarding contentions: Apple’s Motion to
             2     Compel Plaintiffs’ Supplemental Infringement Contentions (Dkt. 1955), filed on June 6,
             3     2024, and Plaintiffs’ Motion to Strike Apple’s Invalidity Contentions (Dkt. 1949), filed
             4     on June 3, 2024. Consistent with the Court’s May 23, 2024, Order with respect to
             5     “Procedure for Discovery Disputes” (Dkt. 1946), Apple prepared its motion regarding
             6     Plaintiffs’ infringement contentions pursuant to Local Rule 37-1 and noticed it to be
             7     heard before Magistrate Judge John D. Early on June 27, 2024. After receiving Apple’s
             8     portion of the Rule 37 submission for Apple’s Motion, Plaintiffs noticed their motion
             9     regarding Apple’s invalidity contentions to be heard directly before Your Honor on July
           10      1, 2024. Because the motions are interrelated—Plaintiffs’ infringement contentions
           11      have direct relevance to Apple’s invalidity contentions, in particular with regard to
           12      Plaintiff’s position on the scope of the asserted patent claims—Apple respectfully
           13      requests the motions be consolidated and heard together. Plaintiffs have represented that
           14      they do not oppose the motions being consolidated and heard together if both are heard
           15      before Your Honor on July 1, 2024, when the parties will be appearing for the Markman
           16      hearing.
           17            As explained in Apple’s Motion, Plaintiffs’ post-stay infringement contentions
           18      have expanded to include all fourteen models of Apple Watch and assert nearly 40
           19      claims. See Dkt. 1955-1 at pp. 1, 4. Notwithstanding the volume of Plaintiffs’
           20      contentions, Apple cannot tell what Plaintiffs’ actual theory of infringement is and how
           21      that theory applies across models. Id at pp. 4-11. On the other hand, Plaintiffs’ chief
           22      complaint about Apple’s invalidity contentions is that they disclose too many invalidity
           23      combinations. See Dkt. 1949-2. Plaintiffs’ Motion requests the Court strike Apple’s
           24      contentions or, in the alternative, require Apple to narrow to “no more than four
           25      combinations per claim with no more than 2 references per patent.” Id.at 9. The parties’
           26      correspondence reflects that these disputes are interrelated. For example, Apple’s ability
           27      to narrow its combinations depends on understanding how Plaintiffs are interpreting and
           28
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             1     applying the claims, and on which of the 40 claims they actually intend to proceed. See,
             2     e.g., Dkt. 1949-6 at pp. 4-5; Dkt. 1949-7 at p. 2. Accordingly, if the Court agrees with
             3     Apple that it does not have sufficient disclosure of Plaintiffs’ infringement theories, that
             4     necessarily affects the appropriate scope and timing of any relief on Plaintiffs’ motion.
             5           This Court has the inherent power to control its own docket. See Miller v. State
             6     of California, No. 523CV00020JVSMAA, 2023 WL 6144839, at *2 (C.D. Cal. Sept. 20,
             7     2023). Here, there are currently two separate hearings noticed on intertwined issues just
             8     two business days apart. In the interest of judicial efficiency and consistency, Apple
             9     respectfully requests that this Court consolidate the hearings on Apple’s Motion to
           10      Compel and Plaintiffs’ Motion to Strike for the reasons set forth above. As noted above,
           11      Plaintiffs have proposed hearing the issues on the same day as the Markman hearing,
           12      and Apple has no objection to that approach—but, of course, defers to whatever the
           13      Court prefers.
           14
           15
                                                             Respectfully submitted,
           16
           17       Dated: June 7, 2024                      By: Mark D. Selwyn
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